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    In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                   Filed: October 27, 2021

* * * * * * * * * * * * * *                               UNPUBLISHED
RONALD SKRAJNER,           *                              No. 17-918V
                           *                              Special Master Horner
         Petitioner,       *
                           *
v.                         *
                           *
SECRETARY OF HEALTH        *                              Attorneys’ Fees and Costs
AND HUMAN SERVICES,        *
                           *
         Respondent.       *
* * * * * * * * * * * * * *
Ronald C. Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.
Matthew Murphy, United States Department of Justice, Washington, DC, for Respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

       On July 7, 2017, Ronald Skrajner (“petitioner”), filed a claim under the National Childhood
Vaccine Injury Act, 42 U.S.C. § 300aa-10-34 (2012).2 Petitioner alleged that he suffered
sensorineural hearing loss as a result of his receipt of an influenza vaccination on October 12,
2015. (ECF No. 1). On May 11, 2021, the parties filed a stipulation, which I adopted as my decision
awarding compensation on the same day. (ECF No. 71).

       On August 9, 2021, petitioner filed an application for attorneys’ fees and costs. (ECF No.
76) (“Fees App.”). Petitioner requests total attorneys’ fees and costs in the amount of $13,877.65,



1
 I intend to post this Ruling on the United States Court of Federal Claims’ website. This means the Ruling
will be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b), petitioner
has 14 days to identify and move to redact medical or other information, the disclosure of which would
constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified material fits
within this definition, I will redact such material from public access. Because this unpublished ruling
contains a reasoned explanation for the action in this case, I am required to post it on the United States
Court of Federal Claims’ website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501
note (2012) (Federal Management and Promotion of Electronic Government Services).
2
 National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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representing $9,320.70 in attorneys’ fees and $4,556.95 in costs.3 Fees App. at 2. Pursuant to
General Order No. 9, petitioner certifies that he has not incurred any fees or costs related to the
prosecution of his petition. Id. Respondent responded to the motion on August 18, 2021, indicating
that “Respondent is satisfied the statutory requirements for an award of attorneys’ fees and costs
are met in this case.” Resp. at 2 (ECF No. 77). Petitioner did not file a reply thereafter.

        This matter is now ripe for consideration.

I.      Reasonable Attorneys’ Fees and Costs

          The Vaccine Act permits an award of reasonable attorneys’ fees and costs. § 15(e). The
Federal Circuit has approved the lodestar approach to determine reasonable attorneys’ fees and
costs under the Vaccine Act. Avera v. Sec’y of Health & Human Servs., 515 F.3d 1343, 1347 (Fed.
Cir. 2008). This is a two-step process. Id. at 1347-48. First, a court determines an “initial estimate
. . . by ‘multiplying the number of hours reasonably expended on the litigation times a reasonable
hourly rate.’” Id. (quoting Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may
make an upward or downward departure from the initial calculation of the fee award based on
specific findings. Id. at 1348.

        It is “well within the special master’s discretion” to determine the reasonableness of fees.
Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521–22 (Fed. Cir. 1993); see also Hines
v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991). (“[T]he reviewing court must grant
the special master wide latitude in determining the reasonableness of both attorneys’ fees and
costs.”). Applications for attorneys’ fees must include contemporaneous and specific billing
records that indicate the work performed and the number of hours spent on said work. See Savin
v. Sec’y of Health & Human Servs., 85 Fed. Cl. 313, 316–18 (2008). Such applications, however,
should not include hours that are “‘excessive, redundant, or otherwise unnecessary.’” Saxton, 3
F.3d at 1521 (quoting Hensley v. Eckerhart, 461 U.S. 424, 434 (1983)).

        Reasonable hourly rates are determined by looking at the “prevailing market rate” in the
relevant community. See Blum, 465 U.S. at 894-95. The “prevailing market rate” is akin to the rate
“in the community for similar services by lawyers of reasonably comparable skill, experience and
reputation.” Id. at 895, n.11. Petitioners bear the burden of providing adequate evidence to prove
that the requested hourly rate is reasonable. Id.

        Special masters can reduce a fee request sua sponte, without providing petitioners notice
and opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 86 Fed. Cl. 201, 209
(Fed. Cl. 2009). When determining the relevant fee reduction, special masters need not engage in
a line-by-line analysis of petitioners’ fee application. Broekelschen v. Sec’y of Health & Human
Servs., 102 Fed. Cl. 719, 729 (Fed. Cl. 2011). Instead, they may rely on their experience with the
Vaccine Program to determine the reasonable number of hours expended. Wasson v. Sec’y of Dep’t
of Health & Human Servs., 24 Cl. Ct. 482, 484 (1991), rev’d on other grounds and aff’d in relevant
part, 988 F.2d 131 (Fed. Cir. 1993). Just as “[t]rial courts routinely use their prior experience to
reduce hourly rates and the number of hours claimed in attorney fee requests . . . Vaccine program

3
 Petitioner was previously awarded interim attorneys’ fees and costs in the amount of $53,948.49 on July
28, 2020.

                                                   2
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special masters are also entitled to use their prior experience in reviewing fee applications.” Saxton,
3 F.3d at 1521.

          a. Hourly Rates

        The decision in McCulloch provides a framework for consideration of appropriate ranges
for attorneys’ fees based upon the experience of the practicing attorney. McCulloch v. Sec’y of
Health & Human Servs., No. 09-293V, 2015 WL 5634323, at *19 (Fed. Cl. Spec. Mstr. Sept. 1,
2015), motion for recons. denied, 2015 WL 6181910 (Fed. Cl. Spec. Mstr. Sept. 21, 2015). The
Court has since updated the McCulloch rates, and the Attorneys’ Forum Hourly Rate Fee
Schedules for 2015–2016, 2017, 2018, 2019, and 2020 can be accessed online.4

       I have reviewed the hourly rates requested by petitioner for the work of his counsel at
Conway, Homer, P.C. (the billing records indicate the majority of attorney work was performed
by Ms. Lauren Faga, with supporting work from Ms. Christina Ciampolillo, Mr. Ronald Homer,
and Mr. Nathaniel Enos). The rates sought herein are consistent with that counsel has previously
been awarded and I find them to be reasonable for work performed in the instant case as well.

          b. Hours Expended

         Attorneys’ fees are awarded for the “number of hours reasonably expended on the
litigation.” Avera, 515 F.3d at 1348. Counsel should not include in their fee requests hours that are
“excessive, redundant, or otherwise unnecessary.” Saxton, 3 F.3d at 1521. While attorneys may be
compensated for non-attorney-level work, the rate must be comparable to what would be paid for
a paralegal or secretary. See O'Neill v. Sec'y of Health & Human Servs., No. 08–243V, 2015 WL
2399211, at *9 (Fed. Cl. Spec. Mstr. Apr. 28, 2015). Clerical and secretarial tasks should not be
billed at all, regardless of who performs them. See, e.g., McCulloch, 2015 WL 5634323, at *26.

        After reviewing the billing records, I find that counsel included entries that are duplicative
and excessive due to other attorneys billing for reviewing routine filings drafted by Ms. Faga, such
as status reports and the joint notice not to seek review. Since Lauren Faga is the lead attorney in
this case, handling the majority work, for duplicative and excessive entries, only hours billed by
Ms. Faga are awarded. These duplicative billing entries result in a reduction of $256.00.

          c. Attorneys’ Costs

         Like attorneys’ fees, a request for reimbursement of attorneys’ costs must be reasonable.
Perreira v. Sec’y of Health & Human Servs., 27 Fed. Cl. 29, 34 (Fed. Cl. 1992). Petitioner requests
a total of $4,556.95 in attorneys’ costs. This amount is comprised of postage and work performed
by petitioner’s medical expert, Dr. Edwin Monsell. Fees App. at 10. Petitioner has provided
adequate documentation of the requested costs and they appear to be reasonable in my experience.
Petitioner is therefore awarded the full amount of costs sought.

II.       Conclusion

4
    The OSM Fee Schedules are available at: http://www.cofc.uscourts.gov/node/2914.


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       Based on all the above, I find that petitioner is entitled to the following award of reasonable
attorneys’ fees and costs:

    Attorneys’ Fees Requested                                              $9,320.70
    (Reduction to Fees)                                                   - ($256.00)
    Total Attorneys’ Fees Awarded                                          $9,064.70

    Attorneys’ Costs Requested                                             $4,556.95
    (Reduction of Costs)                                                       -
    Total Attorneys’ Costs Awarded                                         $4,556.95

    Total Attorneys’ Fees and Costs                                       $13,621.65

        In accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), I have reviewed the
billing records and costs in this case and finds that petitioner’s request for fees and costs, other
than the reductions delineated above, is reasonable. I find it reasonable to compensate petitioner
and his counsel as follows:

      1) a lump sum in the amount of $13,621.65, representing reimbursement for petitioner’s
         attorneys’ fees and costs, in the form of a check payable to petitioner and petitioner’s
         counsel, Mr. Ronald Homer.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of the
Court shall enter judgment in accordance herewith.5



         IT IS SO ORDERED.


                                                 s/Daniel T. Horner
                                                 Daniel T. Horner
                                                 Special Master




5
  Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek
review. Vaccine Rule 11(a).

                                                     4
